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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

WESTERN DIVISION
ELEIWA & SONS, INC.
d/b/a BEAUTY SECRET
a/k/a K&F BEAUTY SUPPLY,
Plaintiff,
VS. No. 2:09-CV-02086-shm-DKV
JURY DEMANDED

PEERLESS INDEMNITY INSURANCE COMPANY,
Defendant.

 

AMENDED COMPLAINT FOR DAMAGES

 

COME NOW Plaintiff, Eleiwa & Sons, Inc. d/b/a Beauty Secret a/k/a K&F
Beauty Supply, by and through its legal counsel of record, Kevin A. Snider of Snider &
Horner, PLLC, and files its amended complaint for damages and state to this Honorable

Court as follows:

JURISDICTION AND VENUE
l. Plaintiff, Eleiwa & Sons, lnc. d/b/a Beauty Secret a/k/a K&F Beauty Supply
(hereinattcr referred to as “Plaintiff”) is a for-profit corporation existing under the laws of
the State of Tennessee and is headquartered in Shelby County, Tennessee and also
transacts business in the Shelby County, Tennessee area.
2. Khaled Eleiwa (hereinai°ter also referred to as “Plaintift”), is an adult citizen

and resident of Shelby County, Tennessee, serving as President of the company.

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3. For purposes of this Complaint, each Plaintiff named in this action shall
hereinafter be collectively referred to as “Plaintiffs”.

4. Defendant, Peerless Indemnity lnsurance Company (hereinaiter referred to as
“Defendant”), is a for profit organization that does not exist pursuant to the laws of the
State of Tennessee, but is doing business in Shelby County, Tennessee, and may be
served with process through the Tennessee Cornmissioner of lnsurance.

5. Jurisdiction and Venue in the instant case are properly found in Shelby

County, Tennessee, pursuant to T.C.A. § 20-4-101 and related sections.

FACTUAL ALLEGATIONS

6. On or about November 5, 2007, Plaintiffs and Defendant entered into a
contract for insurance, Policy No. BOP8347769 (hereinafter referred to as the “lnsurance
Policy”), which was effective from November 5, 2007 to November 5, 2008 at 12:01
A.M. Central Standard Time and was to insure Plaintiffs’ business personal property in
the amount of Three Hundred Thousand Dollars ($300,000.00). A copy of Plaintiffs’
lnsurance Policy is attached hereto as Exhibit “A”.

7 . ln reliance on the above and under the terms and conditions of the lnsurance
Policy, Plaintiffs paid Defendant the appropriate premiums for the term of November 5 ,
2007 to November 5, 2008 at l2:01 A.M. Central Standard Time. Defendant in turn was
to provide Plaintiffs with insurance coverage under the terms and conditions as outlined

hereinabove

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8. At all times pertinent, Plaintiffs were current in paying the premiums on said
lnsurance Policy and complied in good faith with all of the terms and conditions of said
lnsurance Policy.

9. On or about May 26, 2008, a fire occurred at a neighboring business next door
to the insured premises, located at Beauty Secret d/b/a K&F Beauty Supply - Millbranch,
3439 North Watkins Street, Memphis, Tennessee 38127. Said fire caused substantial
smoke damage to Plaintiffs’ business and its contents.

lO. Plaintiffs timely reported and/or filed their insurance claim with Defendant
for losses caused by the fire on or about May 27, 2008 as is required by the lnsurance
Policy and complied with many, if not all, of the other rigorous requirements and
demands made by Defendant in regard to said claim. Said insurance claim has been
designated as Claim No. 203332380. Plaintiffs’ Sworn Statement in Proof of Loss and
business financial reports are collectively attached hereto as Exhibit “B”.

ll. Except for paying a portion of Plaintiffs’ claim, Defendant has refused and/or
otherwise failed to pay for the remaining portion of Plaintiffs’ lost profits and lost
business in that the business property is still not in habitable, useable, and/or rentable
condition to enable Plaintiffs to reopen their business despite current problems that said
Plaintiffs are having with their landlord.

12. Moreover, Defendant has refused and/or otherwise failed to fully pay
Plaintiffs for the increased inventory (due to seasonal increases) that was lost, damaged,
and/or destroyed in the fire and is covered under the lnsurance Policy.

13. The remaining portion of Plaintiffs’ lost profits, lost business, and increased

inventory lost in the fire total One Hundred Fifteen Thousand Dollars ($115,000.00).

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14. Although Defendant has paid Plaintiffs for only three (3) months worth of
lost income to the property, the premises are still not fit and habitable for Plaintiffs’
business,

15. Additionally, Plaintiffs provided Defendant with written documentation from
Shelby County Code Enforcement indicating that the property still has not passed the
various code requirements and approval regardless of what the landlord says to the
contrary about the premises being “ready” for Plaintiffs to reoccupy. Documentation
from the Memphis and Shelby County Office of Construction Code Enforcement is
collectively attached hereto as Exhibit “C”.

16. Furthermore, both of Plaintiffs’ signs, which total TWenty-Four Thousand,
Nine Hundred Dollars ($24,900.00), were damaged, destroyed, and/or lost in the initial
incident of May 26, 2008 and reported as such even though Defendant’s Claim Analyst,
J. Mac Tilley (hereinafter referred to as “Mr. Tilley”), insisted that Plaintiffs file a
separate claim for said signs on or about June 10, 2008. An invoice nom All Signs for
the replacement of Plaintiffs’ signs is attached hereto as Exhibit “D”.

17. Even though Plaintiffs’ signs were damaged, destroyed, and/or lost in the fire
and were included in the initial clairn, Plaintiffs still filed a separate claim for said signs
on or about June 10, 2008 upon request by Defendant in order to cooperate in good faith

with the inspection and/or investigation of their insurance claim.

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l8. Plaintiffs signed a Cancellation Request / Policy Release on or about August
22, 2008 due to their recent decision not to reoccupy the premises, not on June l, 2008 as
Defendant so contends in favor of excluding coverage of the signs as part of Plaintiffs’
insurance claim. Plaintiffs’ Cancellation Request / Policy Release is attached hereto as
Exhibit “E”. Likewise, Plaintiffs’ premium invoices and corresponding premium
payments for the months of June and July of 2008 are collectively attached hereto as
Exhibit “F”.

19. Lastly, Defendant’s denial of Plaintiffs’ peak season claim of Seventy-Five
Thousand Dollars ($7 5 ,000.00) is based on Defendant’s loss auditor, Mike Polk
(hereinafter referred to as “Mr. Polk”), concluding a calculation without providing
Plaintiffs any additional information to support Mr. Polk’s conclusion against a seasonal

variance

FIRST CLAIM - BREACH OF CONTRACT

20. The allegations of all other paragraphs and claims in this pleading are
incorporated as if fully rewritten herein.

21. This claim is for breach of contract against Defendant.

22. Plaintiff has dutif`ully performed all of the terms and conditions of the above-
cited lnsurance Policy on their part by staying current with their payment of insurance
premiums and following Defendant’s instructions to provide requested information in
order to have their insurance claim successfully satisfied

23. Defendant has breached their obligations under the lnsurance Policy by

denying, failing, and/or rehising to do the following:

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A. Fully pay Plaintiffs insurance claim for lost profits; for lost business
in that the business premises are not in fit, habitable, useable, and/or rentable
condition for Plaintiffs to reopen shop; and for the increased inventory that was
lost, damaged, and/or destroyed in the fire.

B. To reimburse Plaintiff for the replacement of signs that were lost,
damaged, and/or destroyed in the fire.

C. To honor the lnsurance Policy’s coverage period for the months of
June and July of 2008 until Plaintiff’ s cancelled the lnsurance Policy on or about
August 22, 2008.

D. To perform the foregoing actions in a timely manner.

24. As a sole, direct, and proximate cause of Defendant’s breach of contract,

Plaintiff has and continues to incur substantial damages

SECOND CLAIM - FRAUD AND/OR MISREPRESENTATION

25. The allegations of all other paragraphs and claims in this pleading are
incorporated as if fully rewritten herein.

26, Defendant, their agents, employees, and/or other individuals acting on their
behalf engaged in fraud and/or misrepresentation when they represented to Plaintiff that
they would fully pay an insurance claim for lost profits, lost business, and/or increased
inventory that is lost, damaged, and/or destroyed by fire that falls within the scope of
Plaintiff’s lnsurance Policy when, in fact, Defendant has failed and/or refused to fully

pay for the aforementioned losses.

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27. Defendant, their agents, employees, and/or other individuals acting on their
behalf engaged in fraud and/or misrepresentation when they represented to Plaintiff that
they would reimburse said Plaintiffs for the replacement of Signs that are lost, damaged,
and/or destroyed in a fire as part of the initial claim when, in fact, Defendant has failed
and/or refused to reimburse Plaintiff for said signs, forcing Plaintiff to file a separate
claim for the signs which Was also denied after it was fraudulently altered by the
Defendant or its representatives

28. Defendant, their agents, employees, and/or other individuals acting on their
behalf engaged in fraud and/or misrepresentation when they represented to Plaintiff that
they would honor the coverage term from November 5 , 2007 until November 5, 2008 at
12101 A.M. Central Standard Time until Plaintiffs cancelled the lnsurance Policy on or
about August, 22, 2008 when, in fact, Defendant has failed and/or refused to honor the
months of June and July for coverage purposes when Plaintiff"s lnsurance Policy was still
in effect.

29. Defendant, their agents, employees, and/or other individuals acting on their
behalf engaged in fraud and/or misrepresentation when they represented to Plaintiff that
they would perform their obligations under the lnsurance Policy in a timely manner
when, in fact, they still have failed and/or refused to perform all of said obligations under
the parties’ agreement

30. Defendant, their agents, employees, and/or other individuals acting on their
behalf engaged in fraud and/or misrepresentation when they made the false representation
to Plaintiff that their goods and/or services had the sponsorship, approval, characteristics,

uses, benefits, and/or qualities that they do not have.

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31. Defendant, their agents, employees, and/or other individuals acting on their
behalf engaged in fraud and/or misrepresentation when they represented to Plaintiff that
their goods and/or services were of a particular standard, quality, and/or grade Which they
do not possess.

32. Defendants, their agents, employees, and/or other individuals acting on their
behalf engaged in fraud and/or misrepresentation when they made the false representation
to Plaintiff that this business transaction conferred or involved rights and remedies which
it did not have or involve.

33. Defendant’s actions were intentional, willful, malicious, and/or reckless and
entitle Plaintiff to punitive damages Defendant knew of the foregoing falsehoods and
made them recklessly with the intent to deceive Plaintiff and to induce them into entering
into a corporate insurance policy that would not honor claims filed for losses, damages,
and/or destruction resulting from a fire spreading to Plaintiff" s business,

34. Alternatively, Defendant’s actions and/or omissions were negligent in that
Defendant failed to exercise due care and should have reasonably foreseen that their
herein-stated actions and/ or omissions would harm or damage Plaintiff fiscally.

35. As a sole, direct, and proximate cause of Defendant’s actions and/or

omissions, Plaintiff has and continues to incur substantial damages.

THIRD CLAIM - VIOLATIONS OF THE TENNESSEE CONSUMER
PROTECTION ACT

36. The allegations of all other paragraphs and claims in this pleading are

incorporated as if fully rewritten herein.

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37. This claim is for violations of the Tennessee Consumer Protection Act of
1977 as stated in T.C.A. § 47-18-101, et seq. (hereinafter referred to as the “Consumer
Act”) by Defendant and/or their agents, employees, and/or other individuals acting on
their behalf

38. As a result of the above, inter alia, Defendant committed one or more unfair
and/or deceptive acts/practices in violation of the Consumer Act in one or more of the
following ways:

A. By falsely representing to Plaintiff that Defendant would fully pay an
insurance claim for lost profits, lost business, and/or increased inventory that is
lost, damaged, and/or destroyed by fire pursuant to Plaintist lnsurance Policy;
and/or

B. By denying, failing, and/or refusing to fully cover Plaintiff’s insurance
claim for lost profits, lost business, and/or increased inventory that was lost,
damaged, and/or destroyed by the fire; and/or

C. By falsely representing to Plaintiff that Defendant would reimburse
said Plaintiffs’ for the replacement of signs that are lost, damaged, and/or
destroyed in a fire as part of the initial insurance claim and/or Haudulently
altering the claim form after being signed by the Plaintiff in an apparent effort to
avoid paying for said loss; and/or

D. By denying, failing, and/or refusing to reimburse Plaintiff for the signs
that were lost, damaged, and/or destroyed in the fire as part of their initial

insurance claim; and/or

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E. By falsely representing to Plaintiff that Defendant would honor the
coverage term from November 5, 2007 until November 5, 2008 at 12101 A.M.
Central Standard Time until Plaintiffs cancelled the lnsurance Policy on or about
August, 22, 2008; and/or

F. By denying, failing, and/or refusing to honor the effective status of
Plaintiff" s lnsurance Policy for the months of June and July of 2008 until Plaintiff
cancelled said policy on or about August 22, 2008; and/or

G. By falsely representing to Plaintiff that Defendant would perform their
obligations as insurer under the lnsurance Policy in a timely manner; and/or

H. By failing and/or refusing to perform their obligations as insurer under
the lnsurance Policy in a timely fashion;

I. By misrepresenting to Plaintiff that Defendant’s goods and/or services
had the sponsorship, approval, characteristics, uses, benefits, and/or qualities that
they do not have; and/or

J. By misrepresenting to Plaintiff that Defendant’s goods and/or services
were of a particular standard, quality, and/or grade; and/or

K. By misrepresenting to Plaintiff that this business transaction conferred
or involved rights and remedies which it did not have or involve; and/or

L. By other acts and/or omissions previously described above which are

deceptive to the consumer or to any other person.

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39. As a result of Defendant’s intentional, willful, and/or knowing violations of
the Tennessee Consumer,Protection Act, Plaintiff has and continues to incur substantial
damages, and Defendant is liable to Plaintiff in the sum of three (3) times their actual

damages, reasonable attorney fees, and costs of litigation

FOURTH CLAIM - BAD FAITH REFUSAL TO PAY CLAIM

40. The allegations of all other paragraphs and claims in this pleading are
incorporated as if fully rewritten herein.

4l. Plaintiff duly performed the terms and conditions of the lnsurance Policy by
timely paying premiums and providing the information that Defendant requested nom
Plaintiff.

42. Defendant acted in bad faith in denying, failing, and/or refusing to timely and
fully pay Plaintiff’ s insurance claim for lost income, lost profits, lost business, lost signs,
and increased inventory lost, damaged, and/or destroyed in the fire pursuant to the
lnsurance Policy in violation of T.C.A. § 56-7-105 and related sections.

43. As a direct sole, direct, and proximate result of Defendant’s untimely bad
faith denial of Plaintiff’s full insurance claim regarding lost income, lost profits, lost
business, lost signs, and increased inventory lost, damaged, and/or destroyed in the fire,

Plaintiff has and continues to incur substantial damages

FIFI`H CLAIM ~ DETRIMENTAL RELIANCE

44, The allegations of all other paragraphs and claims in this pleading are

incorporated as if hilly rewritten herein.

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45. Plaintiff, in reliance upon Defendant’s misrepresentations surrounding their
timely and thorough coverage of Plaintiff"s insurance claim within the lnsurance Policy
limits for lost profits, lost business, lost signs, and increased inventory lost, damaged,
and/or destroyed in the fire, applied for the lnsurance Policy and spent thousands of
dollars worth of money on business insurance premiums to protect their business in the
event of a fire.

46. Believing in good faith that Defendant would timely and thoroughly cover
Plaintiffs’ insurance claim within the limits of the lnsurance Policy for lost profits, lost
business, lost signs, and increased inventory lost, damaged, and/or destroyed in the fire,
Plaintiff applied for the lnsurance Policy through Defendant and spent thousands of
dollars on business insurance premiums to protect their business in the event of a fire,
which Plaintiff would not have done had Plaintiff known that Defendant Would not
timely and thoroughly honor the above insurance claim. Plaintiff’ s entering into an
lnsurance Policy with Defendant and payment of insurance premiums for said lnsurance
Policy, therefore, were to their detriment in that Defendant deny, failed, and/or refused to
timely and fully pay Plaintiff s insurance claim for business losses from a fire.

47. As a result of Defendant’s inducing detrimental reliance on the part of

Plaintiff, Plaintiff has and continues to incur substantial damages

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JURY DEMAND

Plaintiffs demand a jury trial on all issues which may be determined by a jury.

WHEREFORE, PREMISES CONSIDERED, your Plaintiffs pray:

l. That proper process be issued and served upon Defendant, requiring them to
answer this Complaint for Damages within the time allotted by the Tennessee Rules of
Civil Procedure.

2. That Plaintiff be awarded a judgment against Defendant in an amount of not
less than $250,000.00, or an amount to be more specifically proven either before or at
trial.

3. That Plaintiff be awarded punitive damages against Defendant in an amount of
not less than $l,000,000.00 or an amount to be more specifically proven either before or
at trial.

4. That Plaintiff be awarded treble or other explemplary damages at the
maximum rate permitted by law against Defendant pursuant the Tennessee Consumer
Protection Act and/or Bad Faith Statute referenced above

5. That Plaintiff be awarded reasonable attorney fees against Defendant pursuant
to the Tennessee Consumer Protection Act and/or Bad Faith Statute referenced above

6. That Plaintiffs be awarded prejudgment interest at the maximum rate permitted
by law against Defendant.

7 . That Plaintiffs be awarded discretionary costs as this Court deems appropriate

8. That Plaintiffs be awarded the court costs and other expenses of this action.

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9. That Plaintiffs be awarded such other and further relief to which they may be

entitled by law.

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Respectf`ully submitted,
SNIDER & HORNER, PLLC

/s/ Kevin A. Snider

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CERTIFICATE OF SERVICE
The undersigned hereby certifies that a copy of the forgoing document has been
electronically filed with the Clerk of the Court and properly served upon the attorneys of
record in this matter through the Court’s ECF system on this 18th day of March, 2009.

/s/ Kevin A. Snider
Kevin A. Snider

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